 Case 4:14-cv-00833-ALM Document 144 Filed 08/31/20 Page 1 of 20 PageID #: 2033
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1                      UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TEXAS
2                            SHERMAN DIVISION

3    ANDREW MITCHELL                    :       DOCKET NO. 4:14CV833
                                        :
4    VS.                                :       SHERMAN, TEXAS
                                        :       JULY 9, 2020
5    CIT BANK, NA, ET AL                :       3:30 P.M.

6                         TELEPHONE CONFERENCE
                  BEFORE THE HONORABLE AMOS L. MAZZANT,
7                     UNITED STATES DISTRICT JUDGE

8    APPEARANCES (BY TELEPHONE):

9    FOR THE PLAINTIFF:                 MR. JEFFREY RAY BRAGALONE
                                        MR. DANIEL FLETCHER OLEJKO
10                                      MS. STEPHANIE R. WOOD
                                        BRAGALONE CONROY
11                                      2200 ROSS AVENUE SUITE 4500W
                                        DALLAS, TX 75201
12
                                        MR. ROGER D. SANDERS
13                                      SANDERS O'HANLON
                                        111 S. TRAVIS
14                                      SHERMAN, TX 75090

15   FOR THE DEFENDANT:                 MR. WILLIAM J. SUSHON
                                        O'MELVENY & MYERS
16                                      7 TIMES SQUARE
                                        NEW YORK, NY 10036
17
                                        MS. ELIZABETH LEMOND MCKEEN
18                                      O'MELVENY & MYERS
                                        610 NEWPORT CENTER, 17TH FLOOR
19                                      NEWPORT BEACH, CA   92660

20                                      MR. MICHAEL LESLIE
                                        MR. SAMUEL CORTINA
21                                      KING & SPALDING
                                        633 W. FIFTH, SUITE 1600
22                                      LOS ANGELES, CA 90071

23                                      MR. THOMAS JOHN WARD
                                        MS. CLAIRE ABERNATHY HENRY
24                                      WARD SMITH & HILL
                                        1507 BILL OWENS PKWY
25                                      LONGVIEW, TX 75604
 Case 4:14-cv-00833-ALM Document 144 Filed 08/31/20 Page 2 of 20 PageID #: 2034
                                                                              2
1    COURT REPORTER:                    MS. JAN MASON
                                        OFFICIAL REPORTER
2                                       101 E. PECAN #110
                                        SHERMAN, TEXAS 75090
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24   PROCEEDINGS REPORTED BY MECHANICAL STENOGRAPHY, TRANSCRIPT

25   PRODUCED BY COMPUTER-AIDED TRANSCRIPTION.
 Case 4:14-cv-00833-ALM Document 144 Filed 08/31/20 Page 3 of 20 PageID #: 2035
                                                                              3
1               THE COURT:    Good afternoon.     This is Judge Mazzant

2    and we're here in Case 4:14CV833, Andrew Mitchell versus CIT

3    Bank.

4         You've already made your appearances.         Again, you all

5    know the drill.    Just identify yourself every time you

6    speak.

7         And I set this for a hearing primarily to figure out

8    the best procedure for us to tee up the issue of whether the

9    privilege should apply or not, which involves us having to

10   get the various federal agencies involved.         The rules allow

11   them to have a say in the matter before the Court orders any

12   kind of production.

13        So let me ask the Relator, from their viewpoint, what

14   is the best way to tee this up?

15        I have the various letters from the agencies.          I don't

16   believe any claim has been made to the agencies directly,

17   but I'm also just trying to figure out what is the easiest

18   path to -- for us to address this issue?

19              MR. BRAGALONE:     Thank you, Your Honor.      Yes, I'll

20   address that.    This is Jeff Bragalone representing Relator.

21        Relator is asking for specifically the procedure that

22   Judge Fitzwater adopted in the Marketing Investors

23   Corporation versus New Millennium Bank case, which is a case

24   we cited to the Court.      Specifically, we would ask for three

25   things.
 Case 4:14-cv-00833-ALM Document 144 Filed 08/31/20 Page 4 of 20 PageID #: 2036
                                                                              4
1         First, we would ask the Court to order Defendants to

2    actually provide copies of the withheld documents to the

3    respective agencies.

4         Second, we ask the Court to set a deadline for the

5    agencies to file a motion for protective order or otherwise

6    intervene in this action, to the extent they decide to

7    assert the bank examiner privilege as to any of the withheld

8    documents.

9         And finally, we ask that the Court order the Defendants

10   to disclose to Relator any supplemental privilege logs or

11   other correspondence with these agencies or communications

12   that relate to the bank examiner privilege but to date has

13   not been provided to Relator.

14        So in the Marketing Investors Corporation case, Judge

15   Fitzwater said, and I quote -- the order that was adopted

16   there says, quote, in order to allow the FDIC a proper

17   opportunity to assert and defend its bank examination

18   privilege, Defendant must first identify all documents

19   responsive to the discovery requests issued in its

20   possession, custody or control that it contends may be

21   subject to the FDIC's bank examination privilege.

22        It then must make those documents available to the FDIC

23   to allow it to determine whether the bank examination

24   privilege is applicable, and/or whether it intends to assert

25   its privilege as to each of those documents.         And that's the
 Case 4:14-cv-00833-ALM Document 144 Filed 08/31/20 Page 5 of 20 PageID #: 2037
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1    quotation from that case.

2         Now, Relator assumed that when Defendants finally sent

3    notice to these agencies in late June that they also sent to

4    the agencies copies of the documents that they were

5    withholding.    But the agency letters, which we have just

6    received, note that Defendants haven't even provided copies

7    of the withheld documents to the agencies.         Instead, the

8    agencies apparently received only the same log of documents,

9    the same logs that Relator provided to the Court attached to

10   its July 2nd letter, where every document is generically

11   listed with a boilerplate claim that it is, quote, subject

12   to the bank examiner's privilege.

13        In fact, the Consumer Financial Protection Bureau in

14   its letter yesterday, which was attached to Mr. Leslie's

15   letter to the Court this morning -- it's Exhibit C -- they

16   say, quote -- they ask Mr. Leslie to promptly provide the

17   Bureau with all records identified for possible production.

18   And they go on to request that Mr. Leslie -- they say,

19   quote, in order to facilitate the Bureau's timely

20   involvement in this matter, the Bureau asks that you

21   immediately provide all identified records by FTT protocol

22   or another electronic production method.

23        Similarly, Exhibit B to Mr. Leslie's letter this

24   morning is a letter from the Federal Reserve Board.           The

25   Federal Reserve Board says, quote, the Board, a non-party to
 Case 4:14-cv-00833-ALM Document 144 Filed 08/31/20 Page 6 of 20 PageID #: 2038
                                                                              6
1    this case, is not currently in the position to determine the

2    application of the privilege without having access to the

3    documents at issue.

4           So after Relator raised this issue with the Court back

5    in March and again at the May 28th hearing, we're very

6    surprised that Defendants once again haven't actually given

7    copies of the withheld documents to the agencies on whose

8    behalf they're purporting to assert the privilege.

9           This tactic obviously delays resolution of the issue

10   and the eventual production of the documents.          And,

11   unfortunately, we've seen this playbook before from

12   Defendants.    This is what they did back in March.        They

13   logged several documents that they withheld from discovery.

14   We had a hearing on March 17th.       The Court ordered that the

15   agencies had two weeks to make a decision as to whether they

16   were going to assert the privilege.

17          So after the Court did that and the agency actually got

18   a look at what Defendants had withheld from discovery under

19   the bank examiner privilege, the agency in that case was

20   unwilling to support the assertion of the bank examiner

21   privilege on even a single one of the documents that

22   Defendants withheld from discovery.        And when Relator

23   actually received copies of those documents, we could see

24   why.

25          Now, to be clear, Relator believes that the bank
 Case 4:14-cv-00833-ALM Document 144 Filed 08/31/20 Page 7 of 20 PageID #: 2039
                                                                              7
1    examiner privilege here must take a back seat when compared

2    to the public policy concerns invoked by the FCA, and this

3    is consistent with Your Honor's order in the Ocwen case on

4    this very issue where the Court noted that this is a

5    discretionary privilege and the resolution of this depends

6    upon ad hoc considerations of competing policy claims, and

7    in that case the Court said, quote, the privilege should not

8    apply to highly relevant documents in an FCA case.

9         But I will tell Your Honor as an officer of this Court,

10   I have a responsibility, I think, to advocate for a fair

11   procedure, and I know that's what the Court wants as well.

12   And I don't believe the agencies are in a position to

13   respond or to make their arguments if the Defendants don't

14   actually provide them with the documents.

15        This is consistent with the approach that Judge

16   Fitzwater adopted in the Marketing Investors case.          And

17   importantly, the agencies also demonstrate that they

18   recognize the Court's authority in this instance and the

19   authority of this Court to control discovery in the case

20   before it.

21        For example, the OCC letter which was submitted as part

22   of the July 3rd letter from the Defendants, they say that

23   federal law prohibits disclosure of non-public OCC

24   information absent either, one, written permission from the

25   OCC, or two, a federal court order in a proceeding in which
 Case 4:14-cv-00833-ALM Document 144 Filed 08/31/20 Page 8 of 20 PageID #: 2040
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1    the OCC has had an opportunity to appear and oppose

2    discovery.

3         Similarly, the Consumer Financial Protection Bureau in

4    its letter, which was attached as Exhibit C to Mr. Leslie's

5    letter this morning, they say, quote, CIP Bank is prohibited

6    from disclosing such records without prior Bureau approval,

7    unless such disclosure is required by a court order.

8         And I don't want to get into all the 2(e) arguments,

9    but I will tell you that many courts have rejected this

10   argument and have said that the Federal Rules of Civil

11   Procedure cannot be trumped by departmental regulations that

12   place arbitrary limits on a court's discovery powers.

13        So we know that production is already required by at

14   least two orders of the Court, the Court's initial discovery

15   order and also the Court's April 28th, 2020 order.          And

16   Defendants can't downplay the significance of this like they

17   tried to do in March because we know from the logs that

18   we're talking about over 3700 documents.

19        Nor is relevance here disputed.        In fact, the Federal

20   Reserve Board in its letter notes that the bank has

21   identified documents that are relevant but that contain

22   non-public OCC information.

23        Also, Defendants relied on these very investigations as

24   part of their motion to dismiss, so now they're trying to

25   use the bank examination privilege as a shield at the same
 Case 4:14-cv-00833-ALM Document 144 Filed 08/31/20 Page 9 of 20 PageID #: 2041
                                                                              9
1    time that they're also using it as a sword.         But, Judge,

2    that's not a shield that belongs to Defendants to wield in

3    the first place.

4           So we've also learned from multiple agencies' letters

5    that just came in that there were supplemental privilege

6    logs that were sent on July 1st.       Both the FDIC letter,

7    which is Exhibit A, and the Federal Reserve Board letter,

8    which is Exhibit B to Mr. Leslie's letter this morning, note

9    that there was a July 1st letter with the updated privilege

10   log.

11          Now, I'm happy to be corrected, but I don't believe we

12   have been provided with that.       Also, there are references to

13   other communications with these agencies about the bank

14   examiner privilege, and we would ask that the Court order

15   that those be provided to us as well.

16          Finally, there's a suggestion by Defendants that

17   Relator, because we attempted to negotiate a deadline in the

18   amended schedule for resolution of this issue, that we are

19   somehow fine with the long delays that have been associated

20   here, but that's definitely not the case.

21          At no time did we ever suggest that it was acceptable

22   that Defendants delayed identifying this issue for five

23   months.    The documents should have been identified by

24   Defendants at the outset of discovery, and Relator would

25   have actually brought this to the Court sooner except we
 Case 4:14-cv-00833-ALM Document 144 Filed 08/31/20 Page 10 of 20 PageID #: 2042
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1    didn't learn of it until late May, and at that time, as the

2    Court may recall from the hearing on May 28th, Defendants

3    were refusing to identify the government agencies involved.

4    They refused to say whether they had already provided the

5    agencies with the documents.

6          So in conclusion, we would ask that Defendants be

7    ordered to provide the underlying documents to the agencies

8    immediately, just as the agencies have requested.           They

9    actually requested it be sent by FTP protocol.          That's how

10   urgently they've asked for this.        And we would ask that be

11   done by this Monday, July 13th.

12         Then, in addition to that, the agencies have requested

13   copies of the Court's agreed protective orders.          Those

14   should be provided as well.       There's no reason they should

15   have been withheld so far.

16         Then we ask that the Court set a deadline which would

17   be at least two weeks from the agency's receipt of the

18   underlying documents for the agencies to appear and either

19   intervene or otherwise file a motion for protective order to

20   raise these issues before the Court.

21         I want to emphasize that contrary to Mr. Leslie's

22   letter, we are not ignoring the agencies' interest.           Rather,

23   we believe there should be a streamlined procedure, because

24   we don't want this issue to delay production of all these

25   documents.    We want to know that all the documents have been
 Case 4:14-cv-00833-ALM Document 144 Filed 08/31/20 Page 11 of 20 PageID #: 2043
                                                                             11
1    produced.    Nor should we be required to engage in some sort

2    of piecemeal negotiation with the agencies to get documents

3    that are in Defendant's possession.

4          Thank you, Your Honor.

5                THE COURT:    Thank you.    Response?

6                MR. SUSHON:    Your Honor, it's Bill Sushon from

7    O'Melveny & Myers for the Defendants.

8          What I haven't heard from Mr. Bragalone, Your Honor, is

9    any reason why there should be a departure from the

10   regulations that ordinarily cover requests for discovery

11   from the regulators.

12         As Your Honor is aware, these regulations exist.

13   They're there to protect the regulator's interests in their

14   examinations and their deliberative processes, and these

15   processes are followed routinely in courts throughout the

16   country, have been endorsed by the Supreme Court of the

17   United States.     And what we haven't heard is any reason why

18   they are not adequate here.

19         What we have told regulators all along, Your Honor, is

20   that they should be complying with the procedures that are

21   set forth in the Regulations, and what every single one of

22   the regulators said in the letters that we submitted to the

23   Court, Your Honor, is that it's incumbent on the Relator, as

24   the party that is seeking this discovery, to issue a request

25   to each of the regulators and to pursue the discovery.
 Case 4:14-cv-00833-ALM Document 144 Filed 08/31/20 Page 12 of 20 PageID #: 2044
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1          And to help the regulators do that, the Relator is

2    supposed to -- and now I'm quoting from the Federal Reserve

3    Board's letter.     It is supposed to, quote, identify the CSI

4    sought, the relationship of the information to the issues in

5    the litigation, the requester's need for the information,

6    and the reason it cannot be obtained from any other source,

7    close quote.

8          And that's referring to 12 CFR Section 261.22B.          The

9    other regulators have parallel requirements, Your Honor.

10   And allowing this process to be followed appropriately here

11   will serve the interest of judicial economy and narrow the

12   issues that are in dispute, and it will ensure that the

13   Court is only required to rule on any documents where there

14   is a true dispute as to whether the privilege should yield

15   to any competing interests.

16         Now, we've heard Relator say a lot of things about us

17   trying to delay their getting access to bank examiner

18   privileged information.      That's not the case, Your Honor.

19         The last time that the parties were before the Court

20   there was a discussion about setting a deadline for

21   notifying the regulators, and we did precisely that by the

22   deadline that was discussed, which was June 22nd.

23         We sent letters to the regulators and sent them initial

24   privilege logs that were designed to let them know about the

25   number of documents and the information that we could
 Case 4:14-cv-00833-ALM Document 144 Filed 08/31/20 Page 13 of 20 PageID #: 2045
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1    provide at that point in time.

2          We then followed up to the regulators on July 1st with

3    copies of the very same logs that we provided to Relator in

4    this case.

5          Relator has had those logs since June 26th.          Relator

6    had those logs before the regulators had them.

7          So we did what we were supposed to do, which was to

8    notify the regulators, let them know that this dispute was

9    brewing.    We let them know what documents were at issue.

10         We have offered to make the documents available to

11   them, and they have requested to receive copies of those

12   documents and we're ready to do that, Your Honor.           It will

13   take a little bit of time to get that done because these

14   documents often have information in them that is privileged

15   as to CIT and that will have to be redacted.

16         Or there's information from one regulator in another

17   regulator's privileged document, and so we'll need to redact

18   those appropriately so that each regulator only has its own

19   information.

20         But we're prepared to move forward with this, Your

21   Honor.   And there's no emergency that requires such a short

22   schedule as the Relator has requested.

23         I'll note that we have submitted a motion to amend the

24   Scheduling Order in this case, which provides for the close

25   of discovery on -- in February of 2021.         Relator hasn't had
 Case 4:14-cv-00833-ALM Document 144 Filed 08/31/20 Page 14 of 20 PageID #: 2046
                                                                             14
1    any issue with pushing the discovery deadline out that far.

2          In fact, as you'll note from our motion, Relators only

3    concern is that that may not be long enough for him to do

4    all the work that he needs to do with the loan files that he

5    has requested and that we've provided.

6          So even if it is a February 2021 discovery cutoff, that

7    provides more than six months, Your Honor, for Relator to go

8    through the appropriate 2(e) process that's been prescribed

9    by the regulators, get the discovery to which he's entitled,

10   and then use it in whatever way he deems appropriate in

11   terms of taking depositions or further discovery.

12         But there's plenty of time for all that, Your Honor,

13   and there's no reason to shortcut the regulator's procedures

14   for getting these documents.

15               THE COURT:    Okay.   Any response?

16               MR. BRAGALONE:    Yes, Your Honor.     Mr. Bragalone,

17   briefly.

18         The arguments regarding these administrative procedures

19   are not Defendant's to make.       Mr. Sushon and Defendants have

20   literally no standing to come before the Court and argue

21   that we must follow certain administrative procedures.

22   Those are -- those arguments are reserved only to the

23   agencies.

24         I think the Court can see what's happening here.

25   They're -- the Defendants are again trying to delay our
 Case 4:14-cv-00833-ALM Document 144 Filed 08/31/20 Page 15 of 20 PageID #: 2047
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1    access to these documents.       Even the agencies recognize the

2    authority of this Court and the authority of a court order

3    as an alternative to proceeding through administrative

4    channels.    And we can cite the Court at the appropriate time

5    to all of the authority that supports that.

6          But we would like to actually get the documents in the

7    hands of the agencies immediately, so there should be no

8    reason that can't happen.

9          And then we believe the Court should resolve the issue.

10   There's an initial issue as to whether these administrative

11   procedures trump the Federal Rules of Civil Procedure.            Many

12   courts have said no, that's not the case.

13         But then secondarily, even if the bank examiner

14   privilege would apply, as this Court held in the Ocwen case,

15   it must take a back seat to the considerations of the

16   Federal False Claims Act and the issues that are also

17   present in this case.

18         So we believe that the most efficient way to resolve

19   this is in a single proceeding, allow the agencies ample

20   time to review the documents, which we think two weeks is

21   sufficient.    But if the Court believes more is necessary,

22   we're certainly willing to do this in whatever reasonable

23   fashion gives the agency the proper notice.

24         But the arguments that Mr. Sushon made he has no

25   standing to bring before the Court.        They're not his
 Case 4:14-cv-00833-ALM Document 144 Filed 08/31/20 Page 16 of 20 PageID #: 2048
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1    arguments to make.     That's up to the agency.       And if prior

2    experience is a predictor here, what's likely to happen is

3    these agencies are going to get these documents.           They're

4    going to shake their head wondering how in the world

5    Defendants decided to identify all of these as covered by

6    the bank examiner privilege.       And I predict that the vast

7    majority of these documents there will not even be an

8    assertion of a privilege, because at this point there is no

9    assertion of a privilege.       That is only for the agencies to

10   do, and the agencies obviously have to see the documents

11   before they can decide whether they agree with the decision

12   of CIT to withhold these documents.

13         So we believe that the procedure that Judge Fitzwater

14   adopted is certainly a streamlined procedure and that's

15   appropriate for resolving these issues in a timely fashion.

16         And the schedule, Your Honor, I'm not prepared to go

17   into reasons why we have issues with the schedule, but

18   clearly, all parties agreed that the schedule must be

19   extended.

20         Our belief as Relator was that we would now have all

21   the documents in our possession so that we could look

22   forward to our expert analysis and to starting depositions.

23   Now we can't currently have our experts review the documents

24   because we know that they're incomplete.

25         And we'll respond appropriately to the Scheduling Order
 Case 4:14-cv-00833-ALM Document 144 Filed 08/31/20 Page 17 of 20 PageID #: 2049
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1    and perhaps we can submit an agreed Scheduling Order to the

2    Court.   I'm sort of hopeful of that.

3          But we shouldn't use that as a reason to further

4    postpone by six months or more our access to these documents

5    when you have two court orders that require Defendants to

6    produce these by now already.

7                THE COURT:    Okay.   So here's what I'm going to do is

8    I wanted this call to kind of flesh this out, because there are

9    two methods of approach here.       I am going to go with the

10   approach set out by the Relator as it relates to what Judge

11   Fitzwater did.

12         And, Mr. Bragalone, I would ask you to prepare an order

13   for the Court, and you can submit it to the Court.           As soon

14   as you get it to me, I'll certainly get an order entered.

15         And I will hear from the defense if you want to talk

16   about -- I know Mr. Bragalone has set out some dates, so I

17   am going to follow that procedure, but if you want to

18   comment on the timing, go ahead and speak now about that.

19               MR. SUSHON:    Certainly.    Thank you, Your Honor.      Bill

20   Sushon from O'Melveny & Myers again.

21         July 13th simply is not enough time for us to redact

22   documents if we're going to provide them to the regulators

23   so that we can protect each regulator's privilege from the

24   other regulators and to protect CIT's privilege from the

25   regulators.
 Case 4:14-cv-00833-ALM Document 144 Filed 08/31/20 Page 18 of 20 PageID #: 2050
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1          I think that we probably would need about two weeks to

2    get those redactions completed, and then we would be able to

3    send those documents to the regulators.

4          I do know that the regulators take the view that from

5    there, two weeks for them to make a decision as to whether

6    they want to intervene or seek a protective order, in their

7    view, is not enough time.

8          CFTPD in its letter, which we submitted to the Court,

9    said that it would need 60 days to make that decision.            You

10   know, I am put in an odd position of trying to, you know,

11   advocate for the regulators when they're not present, but I

12   do know they take the view it would take them much longer.

13   They are not equipped to do document review the way large

14   law firms are, and so they would need more time for that.

15   And I think, you know, in view of CFPB's request for 60 days

16   as a guideline, that that's their view of it and not

17   necessarily mine.

18               THE COURT:    Mr. Bragalone, would you like to respond

19   on the issue of timing?

20               MR. BRAGALONE:    Your Honor, thank you, briefly.        This

21   is Mr. Bragalone.

22         So my recollection is that the CFPB has been provided a

23   log of only 127 documents.       It's -- it's difficult for me to

24   understand even a federal agency taking two months to review

25   127 documents.
 Case 4:14-cv-00833-ALM Document 144 Filed 08/31/20 Page 19 of 20 PageID #: 2051
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1          I can't speak to the period of time that Mr. Sushon

2    says he needs to redact the documents.         I can only say that

3    we've been asking for this since the very beginning of the

4    year.

5          If -- if it can be done in a shorter period of time, we

6    would prefer that obviously, but I do believe that a two

7    week period or even a three week period is more than

8    adequate to allow these agencies to respond, especially

9    when, for example, the CFPB has literally only 127 documents

10   to review.

11               THE COURT:    Okay.    So, Mr. Bragalone, if you can

12   submit us an order.      As soon as you get it into the Court in

13   some kind of editable form, then I'll decide the time limits.

14   I'll reflect on that and I'll enter the order.          So how soon can

15   you get me an order?

16               MR. BRAGALONE:    We will get it to you this afternoon,

17   Your Honor.    And should we put in our suggested dates or --

18               THE COURT:    You can put your suggested dates in it

19   and then I'll decide.      That's why I want it editable and I'll

20   decide.   And then if you get it to us today, I'll try to enter

21   an order by tomorrow.      Okay?

22               MR. BRAGALONE:    Thank you very much, Your Honor.

23               THE COURT:    Or if you don't get it to us until

24   tomorrow, it will be Monday.

25         So anything else I can do for the Relator today?
 Case 4:14-cv-00833-ALM Document 144 Filed 08/31/20 Page 20 of 20 PageID #: 2052
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1                MR. BRAGALONE:    Not from Relator, Your Honor.

2    Thank you.

3                THE COURT:    What about for defense, anything else I

4    can do for y'all?

5                MR. SUSHON:    This is Bill Sushon.      No, thank you,

6    Your Honor.

7                THE COURT:    Okay.   Y'all have a great day.      Thank

8    you.

9                MR. SUSHON:    Thank you.

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21   I certify that the foregoing is a correct transcript from

22   the record of proceedings in the above-entitled matter.

23

24   ________________________               ________________________
     Jan Mason                              Date
25
